Case 1:17-CV-01047-ESH Document 56 Filed 09/14/18 Page 1 of 1

IN 'I`HE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DEMOCRACY PARTNERS, LLC, et al.,
Plaintiffs,
v. No. ]:17-cv-01047-ESH

PROJECT VER_ITAS ACT FUND, et al.,

Defendants.

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NOTICE OF WITHDRAWAL OF APPEARANCE

 

PLEASE TAKE NOTICE that Yael Bromberg hereby withdraws as co-counsel for
Plaintiffs Dernocracy Partners LLC, et al., in the above-captioned civil action. Pursuant to Local
Rule 83.6(b), this notice is supported and signed by Mr. Robert Creamer.

PLEASE 'I`AKE FURTHER NOTICE that Plaintiff continues to be represented by
Aderson Beil_egarde Francois and Heather Abraham of Georgetown University Law Center’s
Civil Rights Clinic, and by co~counsel Joe Sandler and Dara Lindenbaurn of Sandler, Reiff,

0 nstein & Birkenstock PC.

  

 

"' Robert Creamer

Respectfully Subrnitted,

September 14, 2018 /s/ Yael Bromberg
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